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  IT IS ORDERED as set forth below:



  Date: August 9, 2022
                                                         _____________________________________
                                                                    Lisa Ritchey Craig
                                                               U.S. Bankruptcy Court Judge

 _______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                          :          CASE NO. 21-54965-LRC
                                                :
MICHAEL SCOT FLECK,                             :          CHAPTER 7
                                                :
         Debtor.                                :
                                                :

  ORDER AUTHORIZING SETTLEMENT BETWEEN TRUSTEE AND JPMORGAN
         CHASE BANK, N.A. UNDER RULE 9019 OF THE FEDERAL
                RULES OF BANKRUPTCY PROCEDURE

         On July 1, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Michael Scot Fleck (“Debtor”), filed a Motion for Order

Authorizing Settlement between Trustee and JPMorgan Chase Bank, N.A. under Rule 9019 of the

Federal Rules of Bankruptcy Procedure [Doc. No. 30] (the “Motion”) and related papers with

the Court, seeking an order, among other things, approving a settlement agreement (the

“Settlement Agreement”) between Trustee and JPMorgan Chase Bank, N.A. (“Chase” and with

Trustee, the “Parties”) related to the Debtor’s former interest in certain improved real property

with a common address of 819 Durant PL, NE, #8, Atlanta, Georgia (the “Property”) and the


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alleged security interest of Chase in the same.      More specifically, under the terms of the

Settlement Agreement, inter alia,1 within 10 days of the Settlement Approval Order2 (i.e., this

Order) becoming a final order, Chase shall cause First American Title Insurance Company, on

behalf of Chase, to pay Trustee $87,500.00 in good funds (the “Settlement Funds”) in one lump

sum payment by delivering an official check to Trustee in the amount of $87,500.00. Also, the

Parties stipulate and agree that effective upon Trustee’s receipt of the $87,500.00 Settlement

Funds from Chase, Chase shall have a non-priority, timely filed, general unsecured claim in the

amount of $87,500.00 in the Bankruptcy Case against the Bankruptcy Estate. Moreover, Trustee

and the Bankruptcy Estate, on the one hand, and Chase, on the other hand, grant broad releases

to one another. Finally, within ten (10) business days of the later of: (a) the Settlement Approval

Order becoming a final order, or (b) Trustee’s receiving the Settlement Funds from Chase,

Trustee and Chase shall file a stipulation, or other necessary paper, seeking dismissal with

prejudice of the claims that Trustee has raised against Chase in the adversary proceeding styled

as Hays v. JPMorgan Chase Bank, N.A., et al. (Adv. Pro. No. 21-5150-LRC). The exact terms

of the Settlement Agreement are set forth on Exhibit “A” to the Motion.

        Also on July 1, 2022, Trustee filed a Notice of Motion for Order Authorizing Settlement

between Trustee and JPMorgan Chase Bank, N.A. under Rule 9019 of the Federal Rules of

Bankruptcy Procedure; Deadline to Object; and for Hearing [Doc. No. 31] (the “Notice”)

regarding the Motion, in accordance with the Second Amended and Restated General Order No.



1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
        Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Settlement Agreement.


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24-2018, and setting a hearing on the Motion for August 11, 2022 (the “Hearing”). Counsel for

Trustee certifies that he served the Notice on all requisite parties in interest on July 1, 2022.

[Doc. No. 32].

        No objection to the relief requested in the Motion was filed prior to the objection

deadline provided in the Notice and pursuant to the Second Amended and Restated General

Order No. 24-2018.

        The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

        ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated into this Order. It is further

        ORDERED that Trustee may take any other actions necessary to satisfy the terms of the

Settlement Agreement. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                      [END OF DOCUMENT]




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Order prepared and presented by:

ROUNTREE LEITMAN KLEIN & GEER LLC
Proposed Substitute Attorneys for Trustee

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Identification of entities to be served:

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